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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


William P. Sawyer, d/b/a Sharonville
Family Medicine,                                 :
                                                 :
               Plaintiff(s),                     :
                                                 :    Case Number: 1:16cv550
       vs.                                       :
                                                 :    Judge Susan J. Dlott
KRS Biotechnology, Inc., et al.,                 :
                                                 :
               Defendant(s)                      :

                                JUDGMENT IN A CIVIL CASE


        Decision by Court: This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

. . . plaintiff’s motion for summary judgment (Doc. 53) is GRANTED in part and DENIED in part, with
damages limited to $500.00 on plaintiff’s single TCPA (Telephone Consumer Protection Act) claim.


       Defendant’s cross-motion for partial summary judgment (Doc. 54) is GRANTED.

       With the exception of the judgement to be entered in favor of plaintiff Sawyer and against
defendant KRS in the amount of $500.00 on the single TCPA claim, all other claims and defendants are
DISMISSED.




3/12/19                                                      Richard Nagel, CLERK


                                                              S/William Miller
                                                             Deputy Clerk
